                      Case 1:22-mj-02719-JG Document 12 Entered on FLSD Docket 05/04/2022 Page 1 of 1

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